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 8
 9   Attorneys for Defendants Clean Elections USA
     And Melody Jennings
10
11                             UNITED STATES DISTRICT COURT

12                                 DISTRICT OF ARIZONA

13
14                                               CASE NO: CV-22-01823-PHX-MTL
     Arizona Alliance for Retired Americans;
15   Voto Latino,                                        CV-22-08196-PCT-MTL
16   Plaintiffs,                                         (Consolidated)
     v.
17   Clean Elections USA; Melody Jennings;
18   Doe Defendants 1–10,                             NOTICE OF LODGING
     Defendants.                                        DECLARATION
19                                                     OF LUKE CILANO
20
     ________________________________
21
22   League of Women Voters of Arizona;

23               Plaintiffs,
24
     v.
25
26   Lions of Liberty LLC et al;

27               Defendants.
28




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 1          Defendants Clean Elections USA and Melody Jennings, by and through
 2   undersigned counsel hereby gives the Court notice that it is lodging the attached
 3   Declaration from Mr. Cilano, a member of the Lion’s of Liberty LLC. He is available to
 4
     testify if necessary to confirm its contents.
 5
 6
 7          DATED this 31st day of October 2022
 8                                                                    By: /s/ Veronica Lucero

 9                                                                         Alexander Kolodin
10                                                                           Veronica Lucero
                                                                  Davillier Law Group, LLC
11                                                                 4105 N. 20th Street Ste. 110
12                                                                         Phoenix, AZ 85016

13                                               Attorneys for Defendants Clean Elections USA
14                                                                        and Melody Jennings

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 7
                                CERTIFICATE OF SERVICE
 8
 9   I hereby certify that on October 31st, 2022, I electronically submitted the foregoing

10   document to the Clerk’s Office using the CM/ECF system for filing and transmittal of a

11   Notice of Electronic Filing to the CM/ECF registrants on record.

12
                                                                        By: /s/ Veronica Lucero
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                                             Declaration of Luke Cilano
                 1. I, Luke Cilano, being of sound mind and the age of majority, do hereby depose
                    and state as follows.
                 2. I am a member of the group, Lions of Liberty.
                 3. Lions of Liberty has never, to my knowledge, been associated with Clean
                    Elections USA. Any statement of “disaffiliation” that Lions of Liberty would have
                    made would simply have been to make this clear.


                   I declare under penalty of perjury of the laws of United States of America that the
            forgoing is true and correct.


                    10/31/2022
            Date:
                                Luke Cilano
            Printed Name:
            Signature:
